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 6

 7
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                         CASE NO: 1:13-CR-00312-AWI/BAM
10
                    Plaintiff,
11
     v.                                                AMENDED – WAIVER OF PERSONAL
12                                                     PRESENCE OF ANTONIO BAROCIO-
     ANTONIO BAROCIO-VALENCIA,                         VALENCIA ORDER
13
                    Defendant.
14

15
             I, ANTONIO BAROCIO-VALENCIA, having been fully advised of my right to be
16
     present at the Status Conference Hearing in the above-captioned matter set for Tuesday, October
17
     14, 2014 at the hour of 1:00 p.m. in the courtroom of the Honorable Barbara A. McAuliffe, I
18
     hereby waive my right to be present.
19
     Dated: October 29, 2014                              /s/ Antonio Barocio-Valencia
20                                                       ANTONIO BAROCIO-VALENCIA
21                                               ORDER
22

23           IT IS SO ORDERED that Defendants appearance is waived for October 14, 2014
24   hearing, which the Court instructed Attorney Sciandra to have on file.
25   IT IS SO ORDERED.
26
          Dated:   November 7, 2014                          /s/ Barbara A. McAuliffe           _
27                                                    UNITED STATES MAGISTRATE JUDGE
28
